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                                                                                           EXHIBIT G
                                                                                                52 East Gay Street


v
Vorys, Sater, Seymour and Pease LLP
                                                                                                     P.O. Box 1008
                                                                                         Columbus, Ohio 43216-1008

                                                                                      614.464.6400 | www.vorys.com
Legal Counsel                                                                                        Founded 1909



      Tyler B. Pensyl
      Direct Dial (614) 324-2280
      Email       otter@vorys.com


                                                    December 6, 2018

      BY OVERNIGHT DELIVERY

      Eddy Wang
      200 Valley Drive, Ste 41
      Brisbane, CA 94005

      262 Teddy Ave.
      San Francisco, CA 94134

      279 Silver Ave.
      San Francisco, CA 94112

                             Re:    Notice of Preservation – Unlawful Sales of OtterBox and LifeProof
                                    Products

      Dear Mr. Wang:

              As you know, Otter Products, LLC and TreeFrog Developments, Inc. (collectively,
      “Otter”), have retained our law firm to represent them in connection with your unauthorized
      sales of OtterBox- and LifeProof-brand products (collectively, “Otter Products”) online. We
      have identified you as the operator of the Amazon storefront “1to3shop-store.” We sent you a
      letter on November 27, 2018, demanding that you cease and desist selling OtterBox- and
      LifeProof brand products on your Amazon storefront and all other websites and identify all
      sources of Otter Products you are selling or have sold in the past. You failed to comply with
      these demands.

              In light of your failure to comply with our demands, Otter is actively preparing a possible
      lawsuit against you. This letter serves as official notice of such reasonably anticipated
      litigation and formally notifies you of your obligation to preserve all records and
      information, including all documents and electronically stored information, related to your
      sales of OtterBox- and LifeProof-brand products. Specifically, by copy of this letter, you are
      hereby given notice not to destroy, conceal, or alter any paper or electronic files, other data
      generated by and/or stored on your computer systems and storage media (e.g., hard disks, floppy
      disks, backup tapes), or any other electronic data, such as voicemail. The preservation of
      documents and electronically stored information includes, but is not limited to: hard-copy
      records; invoices; purchase orders; email and other electronic communications; word-processing
      documents; spreadsheets; databases; calendars; telephone logs; contact-manager information;
      Internet-usage files; offline storage or information stored on removable media; information


                      Columbus | Washington | Cleveland | Cincinnati | Akron | Houston | Pittsburgh
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   contained on laptops, Personal Information Managers, smartphones, Blackberrys, or other
   portable devices; and network-access information.

           Following the commencement of litigation in this matter, we intend to submit discovery
   requests to access your documents and electronically stored information. The discovery requests
   will likely seek, among other things, information relating to your purchase of OtterBox- and
   LifeProof-brand products; information relating to your sale and distribution of OtterBox- and
   LifeProof-brand products to all persons, consumers, customers, businesses, entities, and Internet
   retailers; communications of any kind, with any person, consumer, customer, business, entity, or
   Internet retailer from which you bought, or to which you sold or distributed, OtterBox- and
   LifeProof-brand products or products bearing the OtterBox and LifeProof trademarks; financial
   and tax records relating to your purchase, sale, and distribution of OtterBox- and LifeProof-
   brand products; and shipment, FedEx, UPS, and other mailing records relating to your purchase,
   sale, and distribution of OtterBox- and LifeProof-brand products.

          With regard to electronically stored information created, received, stored, or maintained
   subsequent to the date of delivery of this letter, such evidence should not be destroyed and you
   should take the appropriate steps required to avoid destruction of such evidence. Moreover,
   please notify all of your agents, officers, members, managers, employees, and other
   representatives of the contents of this letter so that all such agents are aware of this request and
   take all appropriate action to preserve evidence and assure that evidence is not destroyed.
   Failure to abide by this request could result in severe penalties against you and could form
   the basis of legal claims for spoliation of evidence.

           You should also be aware that, if you ignore this letter and continue to sell Otter products
   unlawfully, you will be subject to personal jurisdiction in Colorado where Otter is located.
   See, e.g., Amini Innovation Corp. v. JS Imps, Inc., 497 F. Supp. 2d 1093, 1106 (C.D. Cal. 2007)
   (explaining that numerous courts have held that a defendant is subject to personal jurisdiction in
   the state where a plaintiff trademark owner is located if the defendant intentionally infringes the
   plaintiff’s intellectual property while knowing where the plaintiff is located). This letter serves
   as notice to you that Otter is located in Colorado, your infringing sales harm Otter, and that the
   effects of your unlawful actions will be felt in Colorado where Otter is located if you do not
   cease your infringing sales.

         If you wish to avoid a lawsuit, please immediately remove all OtterBox and
   LifeProof product listings from your Amazon storefront and identify all sources of Otter
   Products you are selling or have sold in the past. In addition, please email me at
   otter@vorys.com or call me at (614) 324-2280 by no later than 5:00 p.m. Eastern Time on
   December 13, 2018, to confirm that you have complied with our demands.
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                                     Very truly yours,



                                     Tyler B. Pensyl
